Case 3:21-cv-13504-MAS-DEA Document1 Filed 07/09/21 Page 1 of 10 PagelD: 1

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JOSEPH J. GARVEY™

Mailing Address:
P.O. Box 730
Allenwood, NJ 08720-0730

OUR FILE NO. 131.25613
July 9, 2021
Clerk of Court
United States District Court
Clarkson S. Fisher Building & U.S. Courthouse
402 Hast State Street
Trenton, NJ 08608
Re: Patrick Moran v. Costco Wholesale Corporation, Urban
Renewal, LLC
Docket No.: OCN-L-849-17

Dear Clerk:

Please be advised that the undersigned has been retained to represent the
defendants, Costco Wholesale Corporation and Urban Renewal, LLC, in
connection with the above referenced matter.

In that regard, enclosed herein you will find defendant’s Notice of Removal.
If you have any questions, please do not hesitate to contact me.

Very truly yours,

[sf Robert A. Bollow, Jr., Esq.
ROBERT A. BALLOU, JR
rbhallou@courthouselane.com

 

RAB: ch

Enclosure

cc: Hartigan/Deb - Gallagher Bassett (1) - 58155-GB-01
Glen Devora, Esq.
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(732) 341-1212

Attorneys for Defendants, Costco Wholesale Corporation, Costco Urban
Renewal, LLC

Our File No. 131.25613- RAB/ch
Attorney ID#: 017381982

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

PATRICK MORAN SUPERIOR COURT OF NEW JERSEY
LAW DIVISION: OCEAN COUNTY
Plaintiff (s), DOCKET NO. OCN-L-1594-21
vs.
Civil Action

COSTCO WHOLESALE CORPORATION
AND/OR ABC COMPANIES 1-10
(BEING FICTITIOUS ENTITIES
UNKNOWN AT THIS TIME) COSTCO Case No.
URBAN RENEWAL, LLC, AND/OR

ABC COMPANIES 11-20 (BEING

FICTITIOUS ENTITIES UNKNOWN

AT THIS TIME) AND JOHN DOES

1-10 (BEING FICTITIOUS

PERSONS UNKNOWN AT THIS TIME)

NOTICE OF REMOVAL

Defendant (s)

 

NOTICE OF REMOVAL

Notice of Removal of State Court Action to U.S. District Court

PLEASE TAKE NOTICE that defendant Costco Wholesale Corporation
(“Costco”), through its undersigned counsel, hereby files this Amended
Notice of Removal pursuant to 28 U.S.C. §1446. Costco hereby removes to
the District Court of New Jersey all claims and causes of action in the
civil action Patrick Moran v. Costco Wholesale Corporation, et. al., Docket
No. OCN-L-1594-21, now pending in the Superior Court of New Jersey, Law
Division, Ocean County (the “State Court Action”).

 

 
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The grounds for removal are as follows:
28 U.S.C. § 1446

1. On June 17, 2021, plaintiff, residing in Barnegat, Ocean County,
New Jersey, filed a Complaint in the Superior Court, Law Division, Ocean
County against Costco Wholesale Corporation asserting a claim under State
Law.

2. This Notice of Removal is filed in the United States District
Court for the District of New Jersey, the District Court of the United
States for the District and Division within which the State Action is
pending. 28 U.S.C. § 1446(a); 1441 (a).

3. This Notice of Removal is signed pursuant to Rule 11 of the
Federal Rules of Civil Procedure. 28 U.S.C. § 1446(a).

4. Annexed hereto as Exhibit “A” is a copy of the Complaint and
process served upon the defendant in the State Action. 28 U.S.C. § 1446 (a).

Sk: The Complaint was filed on June 17, 2021, and served upon
defendant.
6. As of this date, none of the defendants have filed a responsive

pleading in the action commenced by plaintiff in the Superior Court of New
Jersey, Law Division, Ocean County, and no other proceedings have transpired
in that action.

7. The Complaint arises from the plaintiffs’ contention that on
July 10, 2020, while at a Costco Wholesale Store located at 245 Stafford
Park Blvd., Stafford, New Jersey, he slipped and fell. He claims personal
injuries as a result for which he seeks damages.

8. It is clear the amount in controversy will exceed $75,000. In
that regard, this factor for removal is based upon allegations in the
Complaint as to the plaintiffs’ injuries as noted above.

9. As of the filing of this Notice of Removal, the undersigned has
no knowledge that any other defendant has been successfully served pursuant
to 28 U.S.C. § 1446(b) (2) (A) and therefore cannot and need not obtain
consent of the other named defendant.

10. This Notice is now filed with the Court on July 9, 2021, within
thirty (30) days after the receipt by the defendant, through service or
otherwise, of a copy of the initial pleading setting forth the claim for
relief upon which such action or proceeding is based, and within one (1)
year of commencement of the State Action. 28 U.S.C. § 1446(b).

11. Annexed hereto as Exhibit “B” is the Notice to the Clerk of the
Superior Court Ocean County of Removal of Action to the United States
District Court with regard to the State Action, which will be filed with
the Clerk upon return of this Notice of Removal stamped “received”. 28
U.S.C. § 1446(d).

 

 
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12. Annexed hereto as Exhibit “C” is the Notice to Adversary of
Removal of Action, which will be served promptly upon return of this Notice
of Removal stamped “received”. 28 U.S.C. § 1446(d).

28 U.S.C. § 1441

13. This Notice of Removal is filed in the District of New Jersey,
the District Court of the United States for the District and Division
embracing the place where the State Action is pending. 28 U.S.C. §

1441 (a); 1446(a).

14. The plaintiff is a citizen of the State of New Jersey, residing
at 6 Liberty Court, Barnegat, New Jersey.

15. Defendant, Costco is a citizen of Washington where it was
incorporated and where it has its principal place of business with corporate
headquarters located at 999 Lake Dr., Issaquah, Washington 98027.

16. The State Action is a Civil Action of which District Courts of
the United States have original jurisdiction by virtue of a claim where the
matter in controversy exceeds the sum or value of Seventy-Five Thousand
($75,000.00) Dollars, exclusive of interest and costs and is between
citizens of different states. 28 U.S.C. § 1332(a).

17. Since our original filing, I have spoken with plaintiff's
attorney, Glen Devora, Esq., of the Jonathan D’Agostino & Associates, PC,
Law Firm following-up on my Request for Statement of Damages. He has
advised that this case does have a value in excess of $75,000.00. Based
upon the foregoing, he was unable to stipulate plaintiff’s damages in an
amount below $75,000.00.

WHEREFORE, please take notice that this cause should proceed in the
United States District Court for the District of New Jersey, as an action
properly removed thereto.

GARVEY BALLOU

BY: _/s$f Robert A. Ballou, Ir.
ROBERT A. BALLOU, JR
Attorneys for Defendant
Costco Wholesale Corporation

Dated: July 9, 2021

 

 
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EXHIBIT A
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EXHIBIT B
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(732) 341-1212

Attorneys for Defendants, Costco Wholesale Corporation, Costco
Urban Renewal, LLC

Our File No. 131.25613- RAB/ch
Attorney ID#: 017381982

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

PATRICK MORAN SUPERIOR COURT OF NEW JERSEY
LAW DIVISION: OCEAN COUNTY
Plaintiff£(s), DOCKET NO. OCN-L-1594-21
Vs.
Civil Action
COSTCO WHOLESALE CORPORATION
AND/OR ABC COMPANTES 1-10 NOTICE TO THE CLERK OF THE
(BEING FICTITIOUS ENTITIES SUPERIOR COURT OF NEW
UNKNOWN AT THIS TIME) COSTCO JERSEY OCEAN COUNTY OF
URBAN RENEWAL, LLC, AND/OR REMOVAL OF ACTION TO THE
ABC COMPANIES 11-20 (BEING
FICTITIOUS ENTITIES UNKNOWN UNITED STATES DISTRICT
AT THIS TIME) AND JOHN DOES COURT

1-10 (BEING FICTITIOUS
PERSONS UNKNOWN AT THIS TIME)

Defendant (s)

 

TO: Ocean County Superior Court
Superior Court Ocean Vicinage
PO Box 2191
Toms River, NJ 08753-2191

Sir/Madam:
PLEASE TAKE NOTICE that attached hereto is a copy of a Notice of Removal of
this case, which has been filed with the Clerk of the United States District Court

for the District of New Jersey, removing this action to federal court.
GARVEY BALLOU

BY:___ [if Robert A. Ballou, Ir.
ROBERT A. BALLOU, JR
Attorneys for Defendant
Costco Wholesale Corporation
Dated: July 9, 2021

 
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EXHIBIT C
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(732) 341-1212

Attorneys for Defendants, Costco Wholesale Corporation, Costco
Urban Renewal, LLC

Our File No. 131.25613- RAB/ch
Attorney ID#: 017381982

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

PATRICK MORAN SUPERIOR COURT OF NEW JERSEY

LAW DIVISION: OCEAN COUNTY

Plaintiff(s), DOCKET NO. OCN-L-1594-21
vs.
Civil Action

COSTCO WHOLESALE CORPORATION
AND/OR ABC COMPANIES 1-10 NOTICE TO ADVERSARY OF
(BEING FICTITIOUS ENTITIES REMOVAL ACTION

UNKNOWN AT THIS TIME) COSTCO
URBAN RENEWAL, LLC, AND/OR
ABC COMPANIES 11-20 (BEING
FICTITIOUS ENTITIES UNKNOWN
AT THIS TIME) AND JOHN DOES
1-10 (BEING FICTITIOUS
PERSONS UNKNOWN AT THIS TIME)

Defendant (s)

 

TO: Glen Devora, Esq.
Jonathan D'Agostino & Associates, PC
3309 Richmond Avenue
Staten Island, NY 10312
Attorney for Plaintiffs

Sir/Madam:

PLEASE TAKE NOTICE that in the above-entitled action, defendant,
Costco Wholesale Corporation, have this day filed a Notice of Removal, a
copy of which is attached hereto, in the Office of the Clerk of the United
States District Court for the District of New Jersey. You are also advised
that the defendant, upon filing of said Notice of Removal, filed a copy of
the Notice with the Clerk of the Superior Court of New Jersey, Law Division,
Ocean County, which has effected this removal, in accordance with 28 U.s.c.
§ 1446 (B).

 
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GARVEY BALLOU

BY:_ ($f Robert A. Ballou, Jr.
ROBERT A. BALLOU, JR
Attorneys for Defendant
Costco Wholesale Corporation
DATED: July 9, 2021

 

 
